         Case 4:16-cv-40126-TSH Document 48 Filed 08/28/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



 ADVANCED CABLE TIES, INC.,

                       Plaintiff,
               v.                                           Civil Action 4:16-cv-40126-TSH

 AMERICAN ELITE MOLDING, LLC,
 f/k/a BAY STATE CABLE TIES, LLC,
 and BUYCABLETIES.COM LLC,

                       Defendants.



 NOTICE OF WITHDRAWAL OF MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND
  POPEO, P.C. AND PETER A. BIAGETTI AS COUNSEL FOR ADVANCED CABLE
 TIES, INC. IN LIGHT OF NOTICE OF APPEARANCE OF SUCCESSOR COUNSEL

       Pursuant to Local Rule 83.5.2(c), kindly withdraw the law firm Mintz, Levin, Cohn,

Ferris, Glovsky and Popeo, P.C. (“Mintz Levin”) and Peter A. Biagetti as counsel for record for

Plaintiff Advanced Cable Ties, Inc. (“Advanced Cable Ties”) in the above-referenced matter.

Advanced Cable Ties has retained successor counsel, namely, Joseph D. Lipchitz and Zachary

W. Berk of Saul Ewing Arnstein & Lehr LLP, to represent them in this matter going forward and

they have filed their notices of appearance on behalf of Advanced Cable Ties.




                                               1
          Case 4:16-cv-40126-TSH Document 48 Filed 08/28/18 Page 2 of 2



                                                     Respectfully submitted,


                                                     By its attorney,

                                                     /s/ Peter A. Biagetti
                                                     Peter A. Biagetti (BBO # 42310)
                                                     MINTZ, LEVIN, COHN, FERRIS,
                                                     GLOVSKY AND POPEO, P.C.
                                                     One Financial Center
                                                     Boston, MA 02111
                                                     617.542.6000 (telephone)
                                                     617.542.2241 (fax)
                                                     PABiagetti@mintz.com

Dated: August 28, 2018




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on the date of
electronic filing.

                                              /s/ Peter A. Biagetti
                                              Peter A. Biagetti




                                                 2
80439878v.1
